Case 1:21-cv-02367-RLY-DLP Document 58 Filed 10/18/22 Page 1 of 1 PageID #: 381




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

 JERAD GRIMES,                                )
 GEORGIA EMILY EDMONDSON,                     )
                                              )
                           Plaintiffs,        )
                                              )
                      v.                      )    No. 1:21-cv-02367-RLY-DLP
                                              )
 ELI LILLY AND COMPANY,                       )
 LILLY USA, LLC,                              )
                                              )
                           Defendants.        )


                 AMENDED SCHEDULING ORDER (TIME ONLY)
                  HON. DORIS L. PRYOR, MAGISTRATE JUDGE


       This matter is currently set for a telephonic Status Conference on October 24,

 2022 at 9:30 a.m. The Court now changes the time to 2:00 p.m. (Eastern) on that

 same date. Counsel shall attend the conference by calling the designated telephone

 number, to be provided by the Court via email generated by the Court's ECF system.


       So ORDERED.


       Date: 10/18/2022




 Distribution:

 All ECF-registered counsel of record via email
